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JOSH A. KREVITT (CA SBN 208552)
jkrevitt@gibsondunn.com

H. MARK LYON (CA SBN 162061)
mlyon@gibsondunn.com

GIBSON, DUNN & CRUTCHER LLP
1881 Page Mill Road

Palo Alto, CA 94304-1211

Telephone: (650) 849-5300

Facsimile: (650) 849-5333

Attorneys for Plaintiff Apple Inc.

UNITED STATES DISTRICT COURT
M,
NORTHERN DISTRICT OF CALIFORNIA

MICHAEL A. JACOBS (CA SBN 111664)
mjacobs@mofo.com

RICHARD S.J. HUNG (CA SBN 197425)
rhung@mofo.com

MORRISON & FOERSTER LLP

425 Market Street

San Francisco, California 94105-2482
Telephone: (415) 268-7000

Facsimile: (415) 268-7522

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SAN JOSE DIVISION — NORTHER US. Dig MEK

APPLE INC., a California corporation,
Plaintiff,
Vv.

SAMSUNG ELECTRONICS CO., LTD., a
Korean corporation; SAMSUNG
ELECTRONICS AMERICA, INC., a New
York corporation; and SAMSUNG
TELECOMMUNICATIONS AMERICA,
LLC, a Delaware limited liability company,

Defendants.

CASE NO. 12-cv-00630-LHK

(Proposed)

ORDER GRANTING APPLICATION FOR
ADMISSION OF ATTORNEY PRO HAC
VICE

Mark N. Reiter, whose business address and telephone number is

Gibson, Dunn & Crutcher, 2100 McKinney Avenue, Suite 1100, Dallas, TX 75201 (214) 698-

31001 and who is an active member in good standing of the bar of the Supreme Court of Texas

having applied in the above-entitled action for admission to practice in the Northern District of

California on a pro hac vice basis, representing Apple Inc.

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1 IT IS HEREBY ORDERED THAT the application is granted, subject to the terms and
conditions of Civil L.R. 11-3, All papers filed by the attorney must indicate appearance pro hac vice.
Service of papers upon and communication with co-counsel designated in the application will

constitute notice to the party. All future filings in this action are subject to the requirements

Dated:

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3

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5 || contained in General Order No. 45 , Electronic Case Filing.
6

7

8 United States District Judge
9

Gibson, Dunn &
Crutcher LLP

